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DOCKET NO. 519 OCT 28 19

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

IN RE FIRST STATE SECURITIES CORP. SECURITIES LITIGATION lyfe
TRANSFER ORDER .

This litigation consists of four actions pending in two districts:
three actions in the Southern District of Florida and one action in
the Middle District of Florida. Presently before the Panel is a motion,
pursuant to 28 U.S.C. §1407, to centralize all actions in the Southem
District of Florida for coordinated or consolidated pretrial proceedings
with the actions pending there. The motion is brought by A.G. Becker,
Inc., a defendant in three of the four actions. -

On the basis of the papers Filea,/ the Panel finds that these
actions involve common questions of fact and that centralization of
these actions under Section 1407 in the Southern District of Florida.
will best serve the convenience of the parties and witnesses and pramote
the just and efficient conduct of the litigation. Common factual questions
arise from the allegations in each action that defendants violated
various securities laws by manipulating prices of and markets for the
stock of certain corporations. Centralization under Section 1407 is
therefore necessary in order to prevent duplication of discovery, avoid
inconsistent pretrial rulings, and conserve the resources of the parties,
their counsel, and the judiciary.

The Southern District of Florida is the preferred transferee
district. We note that (1) most of the parties either reside or maintain
offices in the Southern District; (2) the records of First State Securities
Corporation, a brokerage firm involved in the activities that resulted
in this litigation, are located in the Southern District; and (3) the
liquidation of First State is currently proceeding there.

IT IS THEREFORE ORDERED that, pursuant-to 28 U.S.C. §1407, the
action listed on the attached Schedule A and pending in the Middle
District of Florida be, and the same hereby is, transferred to the
Southern District of Florida, and with the consent of that court, assigned
to the Honorable C. Clyde Atkins for coordinated or consolidated pretrial
proceedings with the actions perding in that district and listed om
Schedule A.

FOR THE PANEL:

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Andrew A. Caffrey 7H
Chairman

 

1/ The parties waived oral argument and accordingly the question of
transfer of these actions under Section 1407 was submitted on the briefs.
Rule 14, R.P.J.P.M.L., 89 F.R.D. 273, 283-84 (1981).

 

 
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Schedule A

©... 5:0 -- In re First State Securities Corp. Securities Litigation

. Middle District of Florida
Herbert F. Alward, et al. v. Joe Lugo,
C.A. No. 82-199
Southern District of Florida
James A. Gillis, et al. v. Joe Lugo, et al.,
C.A. No. 81-2746
Akron Investments Pty. v. Joe Lugo, et al.,
C.A. No. 82-1489
Nachwalter, Christie & Falk,
C.A. No. 82-0126

Jr., et al.,

P.A., et al. v. Joe Lugo, et al.,

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